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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                     Plaintiff,                                    4:13CR3025

       vs.
                                                            MEMORANDUM AND ORDER
JESUS SAMANIEGO-GARCIA,

                     Defendant.


       This matter is before the court on the defendant's unopposed motion for a sentence

reduction, Filing No. 166. This is a motion filed pursuant to Amendment 782 to the United

States Sentencing Guidelines, (sometimes called the “drugs minus two” or the “2014 drug

guidelines amendment”) which reduces offense levels assigned in the Drug Quantity Table by

two levels, resulting in lower guideline ranges for many drug trafficking offenses. See U.S.S.G.

§ 1B1.10(d) & (e)(1) (Nov. 1, 2014). The Sentencing Commission has given retroactive effect to

the amendment. Id., U.S.S.G., App. C (Supp.), amendment 788 at 87-88.

       The parties stipulate that the retroactive amendment to the drug quantity table changes

the total adjusted offense level in the defendant's case from 23 to 21 and the defendant's

guideline range from 46 to 57 months to 37 to 46 months imprisonment.           Filing No. 167,

Stipulation. The government and the defense agree that the new reduced sentence under the

amended guidelines should be 37 months based on the prior computation of specific offense

characteristics, adjustments, and any departures.     Id.   The parties further agree that the

defendant may be re-sentenced without being present and without further notice and that any

supervised release should be the same term and conditions as originally decided. Id.

       In consideration of the factors set out in 18 U.S.C. § 3553(a), the court finds that a

sentence reduction will satisfy the goals of sentencing in this case. The court has considered

the nature and circumstances of the offense, the characteristics of the offender, public safety,
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deterrence, and the sentencing guidelines in making this decision. In connection with public

safety, the court has reviewed the defendant's record while in prison and considered whether a

reduction in defendant's sentence poses a danger to any person or to the community.

       The record shows that the defendant is eligible for a 9 month reduction in sentence,

resulting in a new sentence of 37 months.              See Filing No. 163, Retroactive Sentencing

Worksheet (restricted). Such a reduction would have resulted in a new projected release date

of October 31, 2015. However, reduced sentences do not become effective until November 1,

2015. U.S.S.G. § 1B1.10(e)(1) and comment. (n.6). Because that date falls on a Sunday, the

court finds a release date of November 2, 2015, is appropriate under the circumstances.

       Accordingly, it is hereby ordered that:

       1.     The defendant's unopposed motion for a sentence reduction (Filing No. 166) is

hereby granted.

       2.     The parties’ stipulation regarding sentence reduction (Filing No. 167) is

approved.

       3.     An Order Regarding Motion For Sentence Reduction Pursuant To 18 U.S.C. §

3582(C)(2) will issue this date, effective November 2, 2015.

       Dated this 14th day of May, 2015.

                                                         BY THE COURT:

                                                         s/ Joseph F. Bataillon
                                                         Senior United States District Judge




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